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                                                                          by Clerk
                                                                  U.S. Bankruptcy Court
                                                                  District of New Jersey




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